


  OPINION OF THE COURT
 

  Memorandum.
 

  The order of the Appellate Division should be affirmed, with costs.
 

  We agree with the majority memorandum of the Appellate Division. We further note that plaintiff failed to identify any triable issue of fact with respect to whether defendant had notice of the reckless conduct of other skaters in order to defeat defendant’s motion for summary judgment
  
   (Zuckerman v City of New York,
  
  49 NY2d 557, 562).
 

  Chief Judge Kaye and Judges Bellacosa, Smith, Levine, Ciparick, Wesley and Rosenblatt concur.
 

  Order affirmed, with costs, in a memorandum.
 
